                                                         Case 2:21-cv-00919-DWL Document 1 Filed 05/24/21 Page 1 of 28




                                                       Kenneth M. Motolenich-Salas (Bar No. 027499)
                                                   1
                                                       MotoSalas Law, PLLC
                                                   2   16210 North 63rd Street
                                                       Scottsdale, Arizona 85254
                                                   3
                                                       Telephone (202) 257-3720
                                                   4   E-mail: ken@motosalaslaw.com
                                                   5
                                                       Jay Johnson (Pro Hac Vice To Be Forthcoming)
                                                   6   Kizzia Johnson PLLC
                                                       1910 Pacific Ave., Ste. 13000
                                                   7   Dallas, TX 75201
                                                   8   Telephone (214) 451-0164
                                                       E-mail: jay@kjpllc.com
                                                   9   Attorneys for Plaintiff Digital Verification Systems, LLC
                                                  10
MotoSalas Law, PLLC
                      Scottsdale, Arizona 85254
                       16210 North 63rd Street




                                                  11                       IN THE UNITED STATES DISTRICT COURT
                           (202) 257-3720




                                                  12                             FOR THE DISTRICT OF ARIZONA

                                                  13    Digital Verification Systems, LLC,
                                                                                                            Case No. ___________________
                                                  14                       Plaintiff,                       COMPLAINT FOR PATENT
                                                  15                                                        INFRINGEMENT
                                                               v.
                                                  16
                                                        Zava Global Partners, LLC d/b/a Blueink,            (Jury Trial Demanded)
                                                  17
                                                  18                       Defendant.
                                                  19
                                                              Plaintiff Digital Verification Systems, LLC (“Plaintiff” or “DVS”) files this
                                                  20
                                                       Complaint against Zava Global Partners, LLC d/b/a Blueink (“Defendant” or “Blueink”)
                                                  21
                                                       for infringement of United States Patent No. 9,054,860 (hereinafter “the ‘860 Patent”).
                                                  22
                                                                                THE PARTIES AND JURISDICTION
                                                  23
                                                              1.     This is an action for patent infringement under Title 35 of the United States
                                                  24
                                                       Code. Plaintiff is seeking injunctive relief as well as damages.
                                                  25
                                                              2.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal
                                                  26
                                                       Question) and 1338(a) (Patents) because this is a civil action for patent infringement
                                                  27
                                                       arising under the United States patent statutes.
                                                  28
       Case 2:21-cv-00919-DWL Document 1 Filed 05/24/21 Page 2 of 28




1             3.      Plaintiff is a Texas limited liability company located at 1 East Broward
2    Boulevard, Suite 700, Fort Lauderdale, FL 33301.
3             4.      On information and belief, Defendant is a Nevada limited liability company
4    with its principal office located at 7373 E. Doubletree Ranch Rd., Suite 200, Scottsdale,
5    AZ 85258. On information and belief, Defendant may be served through its registered
6    agent, Legalinc Corporate Services Inc., 1810 E. Sahara Ave., Ste. 215, Las Vegas, NV,
7    89104.
8             5.      On information and belief, this Court has personal jurisdiction over
9    Defendant because Defendant has committed, and continues to commit, acts of
10   infringement in this District, has conducted business in this District, and/or has engaged in
11   continuous and systematic activities in this District.
12            6.      On information and belief, Defendant’s instrumentalities that are alleged
13   herein to infringe were and continue to be used, imported, offered for sale, and/or sold in
14   this District.
15                                               VENUE
16            7.      On information and belief, venue is proper in this District under 28 U.S.C. §
17   1400(b) because Defendant is deemed to reside in this District. Alternatively, acts of
18   infringement are occurring in this District and Defendant has a regular and established
19   place of business in this District.
20            COUNT I: INFRINGEMENT OF UNITED STATES PATENT NO. 9,054,860
21            8.      Plaintiff incorporates paragraphs 1 through 7 herein by reference.
22            9.      This cause of action arises under the patent laws of the United States and, in
23   particular, under 35 U.S.C. §§ 271, et seq.
24            10.     Plaintiff is the owner by assignment of the ‘860 Patent with sole rights to
25   enforce the ‘860 Patent and sue infringers.
26            11.     A copy of the ‘860 Patent, titled “Digital Verified Identification System and
27   Method,” is attached hereto as Exhibit A.
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       Case 2:21-cv-00919-DWL Document 1 Filed 05/24/21 Page 3 of 28




1           12.    The ‘860 Patent is valid, enforceable, and was duly issued in full
2    compliance with Title 35 of the United States Code.
3           13.    Upon information and belief, Defendant has infringed and continues to
4    infringe one or more claims, including at least Claim 1, of the ‘860 Patent by making,
5    using (at least by having its employees, or someone under Defendant's control, test the
6    accused Product), importing, selling, and/or offering for sale associated hardware and/or
7    software for digital signature services (e.g., Blueink), and any similar products and/or
8    services (“Product”) covered by at least Claim 1 of the ‘860 Patent. Defendant has
9    infringed and continues to infringe the ‘860 patent either directly or through acts of
10   contributory infringement or inducement in violation of 35 U.S.C. § 271.
11          14.    The Product provides a system for e-signing digital documents. The
12   Product provides for digitally verifying the identification of a signer. Certain aspects of
13   this element are illustrated in the screenshot(s) below and/or in those provided in
14   connection with other allegations herein.
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       Case 2:21-cv-00919-DWL Document 1 Filed 05/24/21 Page 4 of 28




1              15.   The Product includes at least one digital identification module structured to
2    be associated with at least one entity. For example, the Product provides a module (e.g.,
3    creation of an e-signature module for a user) to be associated with at least one entity (i.e.,
4    a user who needs to create an e-signature). Certain aspects of this element are illustrated
5    in the screenshot(s) below and/or in those provided in connection with other allegations
6    herein.
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       Case 2:21-cv-00919-DWL Document 1 Filed 05/24/21 Page 5 of 28




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14          16.    The Product includes a module generating assembly structured to receive at
15   least one verification data element corresponding to the at least one entity and create said
16   at least one digital identification module. For example, the Product includes a module
17   generating assembly structured to receive at least one verification data element
18   corresponding to at least one entity (e.g., a user has a unique login ID and password for
19   accessing and verifying the Product account for e-signing the documents). The module
20   generating assembly is also structured to create the at least one digital identification
21   module (e.g., creating an e-signature of a user). Certain aspects of this element are
22   illustrated in the screenshot(s) below and/or in those provided in connection with other
23   allegations herein.
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       Case 2:21-cv-00919-DWL Document 1 Filed 05/24/21 Page 6 of 28




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19          17.    The at least one digital identification module is disposable within at least
20   one electronic file. (e.g., a user can store the e-signature within a document such as a
21   “Bill of Lading” or in a PDF, Word doc, image file, etc.). Certain aspects of this element
22   are illustrated in the screenshot(s) below and/or in those provided in connection with other
23   allegations herein.
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       Case 2:21-cv-00919-DWL Document 1 Filed 05/24/21 Page 7 of 28




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22          18.    The at least one digital identification module includes at least one primary
23   component structured to at least partially associate the digital identification module with
24   the at least one entity. For example, an e-signature of a user is associated with user
25   information including user name, date, etc.to at least partially associate the digital
26   identification module with the at least one entity (e.g., an e-signature is associated with a
27   user). Certain aspects of this element are illustrated in the screenshot(s) below and/or in
28   those provided in connection with other allegations herein.
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         Case 2:21-cv-00919-DWL Document 1 Filed 05/24/21 Page 8 of 28




1           19.    The at least one digital identification module is cooperatively structured to
2    be embedded within only a single electronic file. For example, the module (e-signature) is
3    stored within a single file (such as a PDF, Word doc, or image file, etc.). Certain aspects
4    of this element are illustrated in the screenshot(s) below and/or in those provided in
5    connection with other allegations herein.
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22          20.    Defendant’s actions complained of herein will continue unless Defendant is
23   enjoined by this court.
24          21.    Defendant’s actions complained of herein are causing irreparable harm and
25   monetary damage to Plaintiff and will continue to do so unless and until Defendant is
26   enjoined and restrained by this Court.
27          22.    Plaintiff is in compliance with 35 U.S.C. § 287.
28   /      /      /
                                                   8
       Case 2:21-cv-00919-DWL Document 1 Filed 05/24/21 Page 9 of 28




1                                      PRAYER FOR RELIEF
2           WHEREFORE, Plaintiff asks the Court to:
3           A.     Enter judgment for Plaintiff on this Complaint on all causes of action
4    asserted herein;
5           B.     Enter an Order enjoining Defendant, its agents, officers, servants,
6    employees, attorneys, and all persons in active concert or participation with Defendant
7    who receive notice of the order from further infringement of United States Patent No.
8    9,054,860 (or, in the alternative, awarding Plaintiff a running royalty from the time of
9    judgment going forward;
10          C.     Award Plaintiff damages resulting from Defendant’s infringement in
11   accordance with 35 U.S.C. § 284;
12          D.     Award Plaintiff pre-judgment and post-judgment interest and costs;
13          E.     Pay Plaintiff its costs and attorneys’ fees in this action pursuant to 35 U.S.C.
14   § 285; and
15          F.     Award Plaintiff such further relief to which the Court finds Plaintiff entitled
16   under law or equity.
17                                 DEMAND FOR JURY TRIAL
18          Plaintiff demands a trial by jury on all issues so triable.
19        RESPECTFULLY SUBMITTED this 24th day of May, 2021.
20
                                    MotoSalas Law, PLLC
21
22
                                    By:/s/Kenneth M. Motolenich-Salas
23                                  Kenneth M. Motolenich-Salas (027499)
24                                  16210 North 63rd Street
                                    Scottsdale, Arizona 85254
25                                  ken@motosalaslaw.com
26                                  Telephone (202) 257-3720

27                                  Kizzia Johnson PLLC
28                                  Jay Johnson (Pro Hac Vice To Be Forthcoming)
                                    1910 Pacific Ave., Ste. 13000
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     Case 2:21-cv-00919-DWL Document 1 Filed 05/24/21 Page 10 of 28




1                           Dallas, TX 75201
                            jay@kjpllc.com
2                           Telephone (214) 451-0164
3                           Attorneys for Plaintiff Digital Verification Systems, LLC

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      Case 2:21-cv-00919-DWL Document 1 Filed 05/24/21 Page 11 of 28




1                                 CERTIFICATE OF SERVICE
2           I hereby certify that on this 24th day of May, 2021, I electronically transmitted the
3    foregoing document and all exhibits thereto to the Clerk’s Office using the CM/ECF
4    System for filing and transmittal of a Notice of Electronic Filing to all CM/ECF registrants
5    of record in this matter.
6    By: /s/ Kenneth M. Motolenich-Salas
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                       EXHIBIT A
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                                                                                                 USOO905486OB1


(12) United States Patent                                                     (10) Patent No.:                    US 9,054,860 B1
       Rothschild                                                             (45) Date of Patent:                             Jun. 9, 2015

(54)    DIGITAL VERIFIED IDENTIFICATION                                          $2. E: 1239. While
                                                                                                eeler et al ....
                                                                                                      et al. . . . . . . . . . . . . . . 2.      i.
        SYSTEMAND METHOD                                                       7,603,621 B2 * 10/2009 Toyama et al. ...            715/707
                                                                               7,844,918 B1 * 1 1/2010 Ashe..................      T15,838
(75) Inventor: Leigh M. Rothschild, Sunny Isles, FL                        2002fOO26575 A1* 2, 2002 Wheeler et al. ............... 713,156
                     (US)                                                  2003/0115151 A1*          6/2003 Wheeler et al. ................. TO5.64
                                                                           2003/0217275 A1* 11/2003 Bentley et al. ...                  ... 713, 184
                                                                           2005/0050462 A1*         3, 2005 Whittle et al. .               715,517
(73) Assignee: SRR Patent Holdings, LLC, Miami, FL                         2005/0160272 A1* 7/2005 Teppler ...........                     T13,178
                     (US)                                                  2006/0173847 A1*          8, 2006 Peterson et al. .................. 707/9
                                                                           2008/0040693 A1* 2/2008 Toyama et al. ...               71.5/865
(*) Notice:          Subject to any disclaimer, the term of this           2008/0082.509 A1 4/2008 Bessieres et al. ................. 707/3
                     patent is extended or adjusted under 35                                  OTHER PUBLICATIONS
                     U.S.C. 154(b) by 2287 days.
                                                                          “The Digital Signature Media Tab.” Caphyon, Dec. 18, 2005.*
(21) Appl. No.: 12/006,457
                                                                          * cited by examiner
(22) Filed:          Jan. 2, 2008
                                                                          Primary Examiner — Oscar Louie
(51) Int. Cl.                                                             (74) Attorney, Agent, or Firm — Greer, Burns & Crain, Ltd.
        G06F2L/00                (2013.01)
        H04L 9/08                (2006.01)                                (57)                        ABSTRACT
     HO4L 9/32                (2006.01)                                   A digital verified identification system and method are pre
(52) GO6F 2 1/64              (2013.01)                                   sented for Verifying and/or authenticating the identification of
 52) U.S. C.                                                              an entity associated with an electronic file. Such as, for
     CPC ............. H04L 9/0825 (2013.01); H04L 9/3247                 example the digital signatory thereof. In particular, the sys
                          (2013.01); G06F 2 1/64 (2013.01)                tem and method include a module generating assembly struc
(58) Field of Classification Search                                       tured to receive at least one verification data element, and at
        USPC ........................ 726/26: 713/176 1 80; 380/59        least one digital identification module structured to be asso
        See application file for complete search history.                 ciated with at least one entity. The digital identification mod
                                                                          ule is capable of being disposed or embedded within at least
(56)                    References Cited                                  one electronic file. Further, the digital identification module
                U.S. PATENT DOCUMENTS                                     includes at least one primary component structured to at least
                                                                          partially associate the digital identification module with the
       6,757,826 B1*    6/2004 Paltenghe ..................... 713/17O    entity, and one or more metadata components.
       6,895,507 B1 *   5/2005 Teppler .                        T26, 19
       6,948,069 B1*    9/2005 Teppler ...                     713,178                      39 Claims, 9 Drawing Sheets

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                        N                                     30


                                                                          1
                                                                     S.                    MODULE
                                                                                       GENERATING
                                                                                                                         50

                                                                                        ASSEMBLY



                                                                           /,               20

                                                       ELECTRONIC
                                                             FILE
                                            40
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            N                       30
                        ENTITY                C1 52

                                          S.                     MODULE              50
                                                            GENERATING
                                                             ASSEMBLY



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                             ELECTRONIC
                                 FILE
                      40
                                                                       FIG. 1




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            N                 30
                                              1
                 -               N.
                                         20
                                              5          MODULE
                                                       GENERATING
                                                        ASSEMBLY
                                                                                50




                 ELECTRONIC
                      FILE

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                                                                      FIG. 1A
    Case 2:21-cv-00919-DWL Document 1 Filed 05/24/21 Page 15 of 28


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      50
           N
                                             52



                          LOGIN

                   Click here to
                      Create new
                       aCCOunt                 MODULE
                                             GENERATOR




                                        FIG. 2


                                   CREATE NEW ACCOUNT
               Name:




               SSN:
               CC No.:
               DL No.:



               Other Verification
                         Data:


                         CREATE


                                         FIG. 2A
    Case 2:21-cv-00919-DWL Document 1 Filed 05/24/21 Page 16 of 28


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                                   NEW MODULE




                                             40'


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              Documents:    v.
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                                  )   From FILE
                                      From PROGRAM




                                 FIG. 3
    Case 2:21-cv-00919-DWL Document 1 Filed 05/24/21 Page 18 of 28


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                            FIG. 3A
    Case 2:21-cv-00919-DWL Document 1 Filed 05/24/21 Page 19 of 28


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                         MODULE                50
                        GENERATING
                         ASSEMBLY


                                   Os 20
                                                                   30

                          - 70 -           C          G   ENTITY




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                             20




                                    FIG. 4
    Case 2:21-cv-00919-DWL Document 1 Filed 05/24/21 Page 20 of 28


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                                               56    1
                            REMOTE
                           ASSEMBLY




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                             -N




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                             LOCAL
                           ASSEMBLY




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                           FIG. 5
    Case 2:21-cv-00919-DWL Document 1 Filed 05/24/21 Page 21 of 28


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                   Name: John Doe
                   SSN: XXX-XX-XXXX                            12
                   Date: 00/00/0000
                   Location: Miami, FL
                   DOB: 00/00/0000
                   Time: 12:00 pm
                   Ref. No. 01-000




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                                         FIG. 6
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          100 N

                                                         102
                                 Receive Verification
                                    Data Element



                                                        104
                                    Create Digital
                                    Identification
                                       Module



                                                         106
                                   Embed Digital
                                    Identification
                                       Module



                                                        108
                                 Reveal Metadata
                                  Component(s)




                                     FIG. 7
           Case 2:21-cv-00919-DWL Document 1 Filed 05/24/21 Page 23 of 28


                                                      US 9,054,860 B1
                               1.                                                                     2
        DIGITAL VERIFED IDENTIFICATION                                tification module, wherein the digital identification module is
              SYSTEMAND METHOD                                        structured to be embedded or otherwise disposed within one
                                                                      or more electronic files. Moreover, an entity, Such as a signa
          BACKGROUND OF THE INVENTION                                 tory of an electronic document, may communicate at least one
                                                                      Verification data element to the module generating assembly
   1. Field of the Invention                                          prior to creating the digital identification module. The verifi
   The present specification is generally directed to a digital       cation data element(s) may include any indicia or data struc
Verified identification system and method having at least one tured to facilitate the verification or identification of the cor
digital identification module structured to be embedded or responding entity. For example, the verification data
otherwise disposed within one or more electronic files.            10
                                                                      element(s) may include a username and/or password, date of
   2. Description of the Related Art                                  birth, social security number, driver's license number, credit
   In general, contracts, letters, messages, notes, and/or other card number,         etc.
hard copies of papers or documents may be physically signed,
for example, with a pen or other writing utensil, by one or tification modulein atincludes
                                                                         Additionally,       least one embodiment, the digital iden
                                                                                                      a file or object that may be
more entities to identify the provenance of the document imported into a computer application
                                                                   15
                                                                                                               to facilitate embedding
and/or otherwise associate the document with the respective
entity. In addition, often times a notary public or other witness     or otherwise   disposing the  digital identification  module into
is used or required assist in the verification or authentication an electronic file. Such as, for example a word processing
of the identity of the signatory of the document. With the document. In at least one embodiment, however, the module
advent of computers and the proliferation of the World Wide generating assembly is at least partially integrated within the
Web, however, many people and/or entities tend to conduct computer application, e.g., an interactive word processing
business or otherwise communicate electronically. As a program, Such that the digital identification module created
result, various methods of associating an electronic file or therefrom may be directly embedded within the electronic file
document with one or more entities, or otherwise including rather than first being imported into the computer application.
electronic signatures on the electronic file or document, have 25 Furthermore, the digital identification module of at least
been developed. For example, at least one common method of one embodiment includes at least one primary component
electronically signing a document includes placing a forward and at least one metadata component. The primary compo
or backward slash prior to and/or following the signatory's nent may include, for example, a digital representation of a
typed name. Accordingly, an individual named John Doe signature and/or one or more reference codes, numbers, or
might electronically signa document by placing"/John Doe? 30 characters, the significance of which will be apparent from
on a signature line that is typically at or near the end of the the discussion below. The primary component is generally
document. These various electronic signatures or identifiers, visible or perceptible to a reader, recipient, or other user of the
however, are rather difficult to authenticate, and as such, it has    electronic document. In addition, the metadata components
become an arduous, if not impossible task to verify and/or may be representative of the one or more of the verification
authenticate the identity of the signatory to a respectable 35 data elements, or other data corresponding to the digital iden
degree.                                                               tification module and/or entity, including the date and time,
   Accordingly, there is a current need in the art for a digital location of the entity, etc.
verified identification system structured to facilitate authen           A reader, recipient, or other user of the electronic docu
ticating and/or verifying the identity of an electronic signa ment may access some or all of the metadata components of
tory to a file and/or otherwise structured to associate an elec 40 the digital identification module, for example, by activating
tronic file with one or more entities. As such, it would be           the module. Specifically, the user may hover a mouse or other
beneficial to provide a system having one or more digital pointing device thereon, or click on the digital identification
identification modules structured to be embedded or other             module via the mouse or pointing device. In addition, a user
wise disposed within at least one electronic file or document. may communicate the one or more reference codes, which
In particular, it would be advantageous if the digital identifi 45 may be part of the primary component(s) and/or the metadata
cation module is created or otherwise generated by a module component(s), to a third party to access Some or all of the
generating assembly utilizing at least one verification data metadata components.
element corresponding to the one or more entities. Such as, for          These and other objects, features and advantages of the
example, a signatory of the electronic file.                          present invention will become more clear when the drawings
   It addition, it would be particularly beneficial to provide a 50 as well as the detailed description are taken into consider
digital verified identification system wherein the one or more ation.
digital identification modules include at least one primary
component and at least one metadata component having, for                    BRIEF DESCRIPTION OF THE DRAWINGS
example, various identifying information and/or reference
codes and/or numbers. In particular, the primary component 55 For a fuller understanding of the nature of the present
may include the signature or other identifying indicia of invention, reference should be had to the following detailed
the respective signatory. Additionally, the metadata compo description taken in connection with the accompanying draw
nent(s) may include, for example, a module or entity refer ings in which:
ence code and/or number, the signatory's name, the date/                 FIG. 1 is a schematic representation of one embodiment of
time, or other data corresponding to the signatory and/or the 60 the digital verified identification system of the present speci
signatory's digital identification module.                            fication.
                                                                         FIG. 1A is a schematic representation of another embodi
              SUMMARY OF THE INVENTION                                ment of the digital verified identification system of the present
                                                                      specification.
   The present specification is directed to a digital verified 65 FIGS. 2, 2A, and 2B are illustrative of one embodiment of
identification system and method including a module gener the module generating assembly of the digital verified iden
ating assembly structured to create at least one digital iden tification system of the present specification.
          Case 2:21-cv-00919-DWL Document 1 Filed 05/24/21 Page 24 of 28


                                                     US 9,054,860 B1
                                3                                                                  4
   FIG.3 is a schematic representation of one embodiment of          Additionally, in at least one embodiment of the module
the computer application of the digital verified identification generating assembly 50, as illustrated in FIG. 2A, a user or
system of the present specification.                              entity 30 may create a new account, for example, by commu
   FIG. 3A is a schematic representation of another embodi nicating one or more verification data elements 52 to the
ment of the computer application of the digital verified iden module generating assembly 50. For illustrative purposes
tification system of the present specification.                   only, the verification data elements 52 as shown in FIG. 2A
   FIG. 4 is a schematic representation of yet another embodi include the entity's name, address, date of birth (“DOB),
ment of the digital verified identification system of the present social security number (“SSN), Driver's License number
specification.                                                    (“DL No.”), a credit card number (“CC No.”), etc. In addition,
   FIG. 5 is a schematic representation of another embodi 10 as represented by reference numeral 52 in FIG. 2A, the entity
ment of the digital verified identification system of the present 30 may upload, import, or otherwise indicate a file, Such as an
specification.                                                    image or picture file, representing a digital rendition of the
   FIG. 6 is a schematic representation of one embodiment of entity's signature, for example.
the digital identification module of the present specification.      As mentioned above, the module generating assembly 50
   FIG. 7 is a flow chart of one embodiment of the method of 15 of the various embodiments of the system 10 is structured to
digital identification verification of the present specification. create at least one digital identification module 20. In particu
   Like reference numerals refer to like parts throughout the lar, assuming an entity 30 has already logged into the module
several views of the drawings.                                    generating assembly 50 or otherwise communicated at least
                                                                    one verification data element 52 thereto, in at least one
   DETAILED DESCRIPTION OF THE PREFERRED                            embodiment of the present system 10, the particular elec
                EMBODIMENT                                          tronic file 40 in which the module 20 will be embedded or
                                                                    disposed, may be specified or pre-selected, as shown at ref
   As shown in the accompanying drawings, and in particular erence numeral 40' in FIG. 2B, prior to creating the digital
FIGS. 1 and 1A, the present specification relates to a digital identification module 20. In such an embodiment, the digital
verified identification system, generally indicated as 10. At 25 identification module 20 may be structured to be embedded,
least one embodiment of the present system 10 includes one disposed, or otherwise operable only with the pre-selected
or more digital identification modules 20 structured to be electronic file 40. In yet another embodiment, however, as
associated with one or more entities 30 such as, for example, represented by reference numeral 40" in FIG.2B, the number
an individual, a group of individuals, and/or a signatory of a of electronic documents in which the digital identification
document or file. In particular, as will become apparent from 30 module 20 can be embedded or disposed into, or otherwise
the discussion below, the digital identification module(s) 20 operate with may be pre-selected or pre-specified. In Such an
of the various embodiments of the present system 10 may embodiment, when the digital identification module 20 has
include virtually any file, item, object, or device structured to been embedded or disposed into electronic documents total
be embedded or otherwise disposed within an electronic file ing the pre-selected number, the digital identification module
or document 40. In at least one embodiment of the present 35 20 may be automatically deleted, become inoperable, or oth
system 10, the digital identification module 20 includes an erwise be disposed in an inactive state. It is also contemplated
image orphotographic file, including, but in no way limited to that, in at least one embodiment, each digital identification
a Joint Photographic Experts Group (“JPEG') file, bitmap or module 20 is structured to be embedded within a single elec
pixmap file, Portable Network Graphics (“PNG”) file, Graph tronic document 40.
ics Interchange Format (“GIF) file, and/or any other file(s) or 40 Additionally, in at least one embodiment of the present
documents. Additionally, however, in at least one other system 10, the digital identification module 20 is structured to
embodiment of the system 10, the digital identification mod be disposed in an inactive state upon manipulating the
ule 20 includes one or more objects, codes and/or other content(s) 42 of the electronic file 40 subsequent to embed
devices structured to facilitate the practice of the present ding the digital identification module 20 therein. In particular,
system 10 in the intended fashion.                               45 if the content(s) 42 of the electronic file 40 are manipulated,
   Furthermore, at least one embodiment of the system 10 of deleted, changed, or added to Subsequent to embedding or
the present specification includes a module generating assem otherwise disposing the digital identification module 20
bly 50 structured to receive at least one verification data therein, the digital identification module 20 may be automati
element 52 corresponding to the at least one entity 30. In cally deleted or removed from the electronic file 40. In addi
addition, the module generating assembly 50 is further struc 50 tion, the digital identification module 20 may be crossed out,
tured to create or otherwise generate the digital identification or automatically stamped “void’, for example.
module 20 of the various embodiments of the present system             Moreover, in at least one embodiment of the present system
10. More in particular, FIGS. 2, 2A, 2B represent at least one 10, once the digital identification module 20 is embedded or
illustrative embodiment of the module generating assembly otherwise disposed within the electronic file 40, a user or
50 of the present system 10. The verification data element(s) 55 recipient of the file 40 cannot delete or remove the digital
52 of the various embodiments of the present system 10 identification module 20 therefrom. In addition, should an
include any information or data structured to at least partially electronic copy of the electronic file 40 be made subsequent to
facilitate authenticating and/or verifying the identity of the embedding or otherwise disposing a digital identification
respective individual, person, or other entity 30. Particularly, module 20 therein, the copy of the electronic file 40 may also
as illustrated in FIG. 2, the module generating assembly 50 60 include a copy of the digital identification module 20 embed
may include or require, for example, the entity 30 to enter, ded therein.
type in, or otherwise communicate a username and/or a pass             Furthermore, as illustrated in FIGS. 3 and 3A, at least one
word in order to gain access to or otherwise use the module embodiment of the present system 10 includes a computer
generating assembly 50. The username and/or password may application 60 structured to embed or otherwise dispose the
be utilized as the verification data element(s) 52 for purposes 65 digital identification module 20 within the electronic file 40.
of verification and/or authentication of the respective The computer application 60 may include, but is not limited
entity 30.                                                          to, any program structured to create or otherwise manipulate
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an electronic file 40. In particular, the computer application       structured to store or otherwise include various information
60 may include virtually any interactive file handling pro           or data about the entity 30, such as, for example the entity's
gram and/or word processing program, Such as,                        account, Verification data element(s), etc. That information
MICROSOFTR WORD, MICROSOFTR WORD PER                                 may then be communicated to the local assembly 54 via the
FECT, and/or ADOBER ACROBATR). For illustrative pur interactive computer network 70. Accordingly, the local
poses only, as shown by the pull-down menu item 62 in FIG. assembly 54 of at least one embodiment, may be structured to
3, the computer application 60 may be structured to import or thereafter create the digital identification module 20. In yet
insert the digital identification module 20 from a file or an another embodiment, however, the remote assembly 56 is
external program, Such as the module generating assembly structured to create the digital identification module 20,
50. In such an embodiment, the module generating assembly 10 which is then communicated to the local assembly 54.
50 may be a program which is completely independent of the              Furthermore, as illustrated in FIG. 6, the digital identifica
interactive word processing program or other computer appli tion module 20 of at least one embodiment of the present
cation 60. For example, the module generating assembly 50 system 10 includes a primary component 22 and one or more
of at least one embodiment is a separate and independent corresponding metadata components 24. In particular, the
program or service that may be structured to create an object 15 primary component 22 of the digital identification module 20
or file, such as a JPEG, GIF, PNG, or a signature file, which is preferably at least partially visible or perceptible to a user
can be imported, inserted, or otherwise embedded or disposed reviewing the electronic file 40. Furthermore, should the elec
within the electronic file 40 by virtue of the computer appli tronic file 40 be printed, in at least one embodiment, the
cation 60. Accordingly, the module generating assembly 50 primary component 22 is structured to be at least partially
of at least one embodiment of the present system 10 includes visible on the physical or printed document. Accordingly, in
a separate program that is run or executed on the entity's 30 at least one embodiment of the present system 10, the primary
computer or other device. When the entity 30 desires to create component 22 may include a digital signature of the entity 30
a digital identification module 20, the entity 30 may access or signatory of the document, or other element structured to at
the module generating assembly 50, either via the computer least partially associate the electronic file 40 with the entity
application 60, or independent of the computer application 25 30. In addition, the primary component 22 may comprise a
60.                                                                  graphical representation of the digital signature, and as such,
   In yet another embodiment, however, as shown in FIG.3A, may include, for example, a JPEG, BMP, PNG, or GIF file.
the module generating assembly 50 may be at least partially             Moreover, as above, at least one embodiment of the present
integrated within the interactive word processing program, or system 10 further includes one or more corresponding meta
other computer application 60. AS Such, the computer appli 30 data components 24. In particular, the corresponding meta
cation 60 may include a feature, option, or function, repre data components 24 are structured to correspond to, for
sented by pull-down menu item 64, that is structured to ini example, the entity 30, the respective digital identification
tiate the module generating assembly 50 So as to create and/or module 20, the entity's computer, the one or more verification
embed the digital identification module 20 within the elec data elements 52, etc. Accordingly, in at least one embodi
tronic file 40.                                                   35 ment, the metadata component(s) 24 include, but are in no
   In addition, and as illustrated in FIG. 4, the module gener way limited to the date and time the digital identification
ating assembly 50 of the present system 10 may be accessed module 20 was created, the computer or device the digital
via at least one interactive computer network 70, such as the identification module 20 or electronic file 40 was created on,
WorldWideWeb via the Internet. In such an embodiment, the            the computer or device that embedded the digital identifica
module generating assembly 50 may be accessed through a 40 tion module 20 into the electronic file 40, GPS location of the
web site whereby the digital identification module 20 may be entity 30 or computer/device that created or embedded the file
downloaded and then embedded or otherwise disposed within 40, the country, Zip code, state, city or other information
the electronic file 40.                                              pertaining to the location of the entity 30, the location of the
   It is also contemplated that the electronic file 40 may computer or device that embedded the digital identification
include a document, form, or other file disposed on the World 45 module 20 into the electronic file 40, tracing information to
WideWeb. In such an embodiment, the digital identification the computer that created or embedded the module 20, notes,
module 20 may be uploaded to the particular web server, web etc. In particular, the metadata component(s) 24 may include
site, or other form or document on the World WideWeb so as           a graphical representation of a digital signature, and as such,
to associate the particular file with the respective entity 30. Of may include, for example, a JPEG, BMP, PNG, or GIF file.
course if the digital identification module 20 is created via a 50 Additionally, the metadata component(s) 24 may include
web site, the module 20 may not need to be uploaded in computer identification numbers or characters corresponding
certain circumstances.                                               to the computer in which the digital identification module 20
   It should be apparent that the module generating assembly was created, initiated, or otherwise institutes, such as the
50 of the various embodiments of the present system 10 may entity's 30 computer. As such, the metadata component(s) 24
include one or more devices or mechanisms structured to 55 may include, for example, a computer's Media Access Con
facilitate the practice of the present system 10 in the intended trol (“MAC) address or other identification numbers, char
manner. For example, as illustrated in FIG. 5, at least one acters, or data.
embodiment of the module generating assembly 50 may                     Furthermore, in at least one embodiment, the metadata
include a local assembly 54 or other program, application, or component(s) 24 may include a unique module reference
plug-in disposed on the entity's 30 computer or included 60 code or number corresponding to the digital identification
within the computer application 60, such as the interactive module 20, or a unique entity reference code or number
word processing program, as described above. In addition, corresponding to the entity 30. Accordingly, once an indi
the module generating assembly 50 may also include a vidual, such as the recipient of the electronic file 40, has
remote assembly 56 or program accessible via an interactive knowledge of or access to the module or entity reference
computer network 70, such as the World Wide Web, and 65 codes, it is contemplated that the reference codes may be
disposable in a communicative relation with the local assem communicated to the module generating assembly 50, or
bly 54. In at least one embodiment, the remote assembly 56 is other third party, Such as, for example a web site, and gather
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more information about the entity 30 or the particular digital            Furthermore, still referring to FIG.7, the method 100 of the
identification module 20. For example, the third party may             present specification includes creating at least one digital
have information to verify the entity 30 or signatory, or oth          identification module, as illustrated at 104. More in particu
erwise provide Some or all of the metadata components 24               lar, in at least one embodiment, the entity may log into an
either corresponding to the entity 30, the respective digital          account, or otherwise create a new account with the module
identification module 20, or both.                                     generating assembly 50. Either in the process of creating a
   In addition, the digital identification module 20 of at least       new account, logging in, or while logged in, the entity com
one embodiment may be structured to display, show, or reveal municates at least one verification data element thereto. Fur
Some or all of the corresponding metadata components 24. thermore, in at least one embodiment, the module generating
Such as, for example, upon the occurrence of one or more 10 assembly is structured to at least partially create the digital
predetermined events, including, but not limited to, a mouse identification module(s), for example, by combining at least
over or clicking event. Accordingly, as illustrated in FIG. 6, in one primary component with at least one metadata compo
at least one embodiment, when a mouse, pointer, or other like nent. The primary component may be representative of a
device 12 is disposed, hovered, or rolled over the digital digital rendition of the entity's signature, or a reference code.
identification module 20, such as, for example, the primary 15 The metadata component(s) may include other corresponding
component 22 thereof, the digital identification module 20 is data, including but not limited to the verification data ele
structured to reveal Some or all of the metadata component(s) ments, the date and time of creating the identification module,
24 in a pop-up box 14, or other like structure or device. It is the location or otheridentifying information corresponding to
also contemplated that in at least one embodiment of the the computer or device that was used to embed the identifi
present system 10, a user must click on the digital identifica cation module, etc.
tion module 20, or primary component 22 thereof, in order to              Moreover, the various embodiments of the method 100 of
view Some or all of the metadata component(s) 24. Addition the present specification include embedding the at least one
ally, in yet another embodiment, when a user disposes or digital identification module within the electronic file, repre
hovers the mouse or other pointing device 12 over the digital sented as 106 in FIG. 7. Accordingly, in at least one embodi
identification module 20, Some metadata components 24 are 25 ment, the entity may import a file, i.e., a digital identification
revealed, and when a user clicks on the module 20 or primary module, created by the module generating assembly into the
component 22, additional and/or other metadata components electronic file via a computer application, Such as, for
24 are revealed. Furthermore, in yet another embodiment, a example, an interactive word processing program or other
user may need to communicate a valid username and pass application structured to create or manipulate electronic files,
word or other identification information prior to viewing 30 or otherwise structured to facilitate the practice of the present
Some or all of the metadata components 24 of the particular method in the intended fashion. As above, however, in at least
digital identification module 20.                                      another embodiment, the module generating assembly is at
   Moreover, the identification of the entity 30 with which the least partially integrated within the computer application,
electronic file 40 is associated may be verified by the module Such as the word processing program, for example, as a fea
generating assembly 50. For example, as above, the verifica 35 ture, option, or plug-in. In Such an embodiment, the digital
tion data element(s) 52 may include, for example, identifica identification module need not be imported, but is rather
tion information Such as a name, address, and credit card              created, at least in part, by the module generating assembly.
number. Accordingly, the module generating assembly 50                    Once the digital identification module is embedded within
may, in at least one embodiment, contact the corresponding the electronic file, at least one embodiment of the present
financial institution for verifying that the verification data 40 method 100 includes revealing at least one metadata compo
element(s) 52 indeed corresponds to the entity 30 prior to nent, represented as 108 in FIG. 7. More in particular, a user,
generating the digital identification module 20. On the other such as the recipient of the electronic file, may activate the
hand, at least one embodiment of the present system 10 is digital identification module by hovering a mouse or other
structured to provide metadata components 24 to the user or pointing device over it, or by clicking on it with the mouse or
recipient of the electronic file 40 such that the user or recipient 45 other pointing device. In such an instance, at least one
can verify the identity of the respective entity 30 associated embodiment of the present method 100 will reveal some or all
with the electronic file 40.                                           of the metadata components, for example, via a pop-up box or
   In addition, and as illustrated in FIG. 7, the present speci other like structure or device. In addition, a user. Such as the
fication relates to a method of digital identification verifica recipient of the electronic document may communicate a
tion, generally indicated as 100. In particular, as illustrated at 50 reference code to a third party, for example, the module
102 in FIG. 7, at least one embodiment of the method 100               generating assembly, a web site, or other device, object, or
includes receiving at least one verification data element from service, and receive in return one or more metadata compo
an entity. As above, the Verification data element may include nents corresponding to the respective digital identification
a username and/or password, the entity's name, address, date module and/or entity. The reference code may be obtained via
of birth, social security number, driver's license number, 55 the metadata from the digital identification module, however,
credit card number, etc. In the various embodiments of the             in at least one embodiment, the reference code appears as part
present method 100, as described in greater detail above, the of the primary component thereof. Upon receipt of the meta
entity communicates the at least one verification data element data components or other identifying information, the user or
to a module generating assembly, which may be accessed via recipient of the electronic file may verify the data to at least
an interactive computer network. In addition, the module 60 partially verify or authenticate the identification of the entity
generating assembly may be at least partially integrated associated with the digital identification module and/or elec
within a computer application Such as an interactive word tronic document.
processing program, as a feature, option, or plug-in for                  Since many modifications, variations and changes in detail
example. It is also contemplated that the module generating can be made to the described preferred embodiment of the
assembly is completely separate and independent from the 65 invention, it is intended that all matters in the foregoing
interactive word processing program or other like computer description and shown in the accompanying drawings be
application structured to manipulate electronic files.                 interpreted as illustrative and not in a limiting sense. Thus, the
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scope of the invention should be determined by the appended             14. The digital verified identification system recited in
claims and their legal equivalents.                                  claim 8 wherein at least one of said plurality of corresponding
  Now that the invention has been described,                         metadata components includes agraphical representation of a
                                                                     digital signature.
  What is claimed is:                                                   15. The digital verified identification system recited in
   1. A digital verified identification system, comprising           claim 8 wherein at least one of said plurality of corresponding
   at least one digital identification module structured to be       metadata components includes a MAC address correspond
      associated with at least one entity,                           ing to a computer that instituted the creation of said digital
   a module generating assembly structured to receive at least 10 identification module.
      one verification data element corresponding to the at             16. The digital verified identification system recited in
      least one entity and create said at least one digital iden claim 1 wherein said at least one digital identification module
      tification module,                                             is cooperatively structured to correspond to a pre-selected
   said at least one digital identification module being dispos electronic file.
      able within at least one electronic file, and               15    17. The digital verified identification system recited in
   said at least one digital identification module comprising at claim 1 wherein said at least one digital identification module
      least one primary component structured to at least par is structured to be disposed in an inactive state upon manipu
      tially associate said digital identification module with lating the at least one electronic file Subsequent to embedding
      said at least one entity, wherein                              said at least one digital identification module therein.
   said at least one digital identification module is coopera           18. The digital verified identification system recited in
      tively structured to be embedded within only a single claim 1 wherein said at least one verification data element
      electronic file.                                               includes a unique identification number.
   2. The digital verified identification system recited in claim       19. The digital verified identification system recited in
1 further comprising at least one computer application struc claim 18 wherein said unique identification number includes
tured to embed said at least one digital identification module 25 a Social security number.
within the electronic file.                                             20. The digital verified identification system recited in
   3. The digital verified identification system recited in claim claim 18 wherein said unique identification number includes
2 wherein said at least one computer application includes an a driver's license number.
interactive file handling program.                                30
                                                                        21. The digital verified identification system recited in
   4. The digital verified identification system recited in claim claim 18 wherein said unique identification number includes
1 wherein said module generating assembly is accessible via a credit card number.
at least one interactive computer network.                              22. The digital verified identification system recited in
   5. The digital verified identification system recited in claim claim 1 wherein said at least one verification data element
1 wherein said at least one primary component includes a 35 includes a username and a password.
digital signature.                                                      23. A digital verified identification system, comprising:
   6. The digital verified identification system recited in claim       a module generating assembly structured to receive at least
5 wherein said at least one primary component includes a                   one verification data element corresponding to at least
graphical representation of said digital signature.                        one entity and create at least one digital identification
   7. The digital verified identification system recited in claim 40       module, wherein said at least one digital identification
1 wherein said at least one digital identification module fur              module is structured to be associated with said at least
ther comprises at least one corresponding metadata compo                   one entity,
nent.                                                                   said at least one digital identification module further struc
   8. The digital verified identification system recited in claim          tured to be embedded within at least one electronic file,
1 wherein said digital identification module further comprises 45 said at least one digital identification module comprising at
a plurality of corresponding metadata components.                          least one primary component structured to at least par
   9. The digital verified identification system recited in claim          tially associate said at least one digital identification
8 wherein said plurality of corresponding metadata compo                   module with said at least one entity, wherein said at least
nents are structured to be revealed in response to the occur               one primary component includes a digital signature,
rence of at least one predetermined event.                        50       wherein
   10. The digital verified identification system recited in            said at least one digital identification module is coopera
claim 9 wherein said at least one predetermined event                      tively structured to be embedded within only a single
includes disposing a pointing device over said primary com                 electronic file.
ponent.                                                                 24. The digital verified identification system recited in
   11. The digital verified identification system recited in 55 claim 23 further comprising a plurality of corresponding
claim 9 wherein said at least one predetermined event metadata components.
includes clicking on said primary component with a pointing             25. The digital verified identification system recited in
device.                                                              claim 23 wherein said at least one electronic file is pre
   12. The digital verified identification system recited in selected.
claim 8 wherein at least one of said plurality of corresponding 60 26. A method of digital identification verification, compris
metadata components includes a module reference number ing:
corresponding to said at least one digital identification mod           receiving at least one verification data element from an
ule.                                                                       entity,
   13. The digital verified identification system recited in            creating at least one digital identification module corre
claim 8 wherein at least one of said plurality of corresponding 65         sponding to the entity, wherein the digital identification
metadata components includes an entity reference number                    module includes at least one primary component at least
corresponding to the at least one entity.                                  partially associated with the entity, and
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embedding the at least one digital identification module           34. The method as recited in claim 31 further comprising
  within an electronic file, wherein                               revealing the at least one metadata component in response
said at least one digital identification module is coopera           to activating the digital identification module.
  tively structured to be embedded within only a single            35. The method as recited in claim 30 further comprising
  electronic file.                                                 communicating at least one reference code to a third party.
27. The method as recited in claim 26 further comprising           36. The method as recited in claim 35 further comprising
defining receiving at least one verification data element          revealing the at least one metadata component in response
   from the entity as receiving a valid username and pass            to communicating at least one reference code to a third
  word from the entity.                                              party.
28. The method as recited in claim 26 further comprising       10 37. The method as recited in claim 32 further comprising
defining receiving at least one verification data element         pre-selecting the electronic file.
   from the entity as receiving at least one unique identifi      38. The method as recited in claim 32 further comprising
   cation number from the entity.                                 pre-selecting   a number of electronic files.
                                                                  39. A method of verifying the identification of an entity
29. The method as recited in claim 26 further comprising 15 associated
verifying the at least one verification data element.                       with an electronic file, comprising:
30. The method as recited in claim 26 further comprising          receiving at least one verification data element from the
combining at least one primary component with at least               entity,
   one metadata component to at least partially create the at     creating   at least one digital identification module corre
   least one digital identification module.                          sponding    to the entity by at least partially combining a
31. The method as recited in claim 30 further comprising             primary    component    with at least one metadata compo
activating the digital identification module in response to at       nent, wherein the primary component includes a digital
   least one predetermined event.                                    signature, and
32. The method as recited in claim 31 further comprising          embedding      the at least one digital identification module
defining the at least one predetermined event as hovering a 25       within   the electronic file, wherein
  pointing device over the primary component.                     said at least one digital identification module is coopera
33. The method as recited in claim 31 further comprising            tively structured to be embedded within only a single
defining the at least one predetermined event as clicking on         electronic file.
  the primary component with a pointing device.
